Fill in this information to identify your case:

Debtor 4 Anthony Scott Levandowski
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: Northern District of California

Case number 20-30242

(If known)

 

[J Check if this is an amended filing

 

Official Form 122B
Chapter 11 Statement of Your Current Monthly Income 10/19

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate sheet

to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known).

Ea Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

 

Not married. Fill out Column A, lines 2-11.
[_ married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

[| Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result.

Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income from that
property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2
2, Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions). $ 8,333.00 $

 

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 $
4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regular contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates. Include regular contributions from a spouse only if Column B is not filled in. $ 0.00 5
Do not include payments you listed on line 3.

 

5. Net income from operating a business, profession,

 

 

 

 

 

 

or farm Debtor 1 Debtor 2
Gross receipts (before all deductions) 3. ltC( CH
Ordinary and necessary operating expenses -$ -$
| 0.00 Copy

Net monthly income from a business, profession, orfarm $_V-VY § here> § 0.00 $

6. Net income from rental and other real property Debtor 4 Debtor 2
Gross receipts (before all deductions) $. $
Ordinary and necessary operating expenses -$ -$
Net monthly income from rental or other real property $ 0.00 ¢ pOPY $ 0.00 §

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Debtor? Anthony Scott Levandowski Case number (itknown) 20-30242

First Name Middle Name Last Name

 

 

Column A Column B
Debtor 1 Debtor 2

7. Interest, dividends, and royalties g 1,830.00 5
8. Unemployment compensation $ 0.00 $

Do not enter the amount if you contend that the amount received was a benefit

FOP YOUF SPOUSE... ee ceeeeceeeecesesesveseeeusecassecusvseveveevens $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence,
do not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any
retired pay paid under chapter 61 of title 10, then include that pay only to the
extent that it does not exceed the amount of retired pay to which you would
otherwise be entitled if retired under any provision of title 10 other than chapter 61
of that title. $ 0.00 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism, or compensation, pension, pay, annuity, or allowance paid by
the United States Government in connection with a disability, combat-related injury
or disability, or death of a member of the uniformed services. If necessary, list
other sources on a separate page and put the total below.

 

$ 0.00 §

§ 0.00 $

 

Total amounts from separate pages, if any. +3 +3

11. Calculate your total current monthly income.
Add lines 2 through 10 for each column. +
Then add the total for Column A to the total for Column B. g 10,163.00 $ is 10,163.00

 

 

Total current
monthly income

By signing ere, under périalty of perjury | decidfe that the information on this statement and in any attachments is true and correct.

A

 

 

 

Signature of Debtor 1 Signature of Debtor 2
bate 03/18/2020 —
MM /DD /YYYY MM /DD  /YYYY
Official Form 122B Chapter 11 Statement of Your Current Monthly Income

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